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                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                           Before the Honorable Karen B. Molzen
                                                Preliminary/Detention - VSR
Case Number:                05cr379 MV                            UNITED STATES vs. Atkins
Hearing Date:               12/13/2019                            Time In and Out:          9:32-9:33; 9:46-9:48
Courtroom Deputy:           E. Hernandez                          Courtroom:                Rio Grande
Defendant:                  Colby Atkins                          Defendant’s Counsel:      Joe Romero
AUSA:                       David Cowen                           Pretrial/Probation:       W. Miller
Interpreter:                N/A                                   Witness:
Initial Appearance
☐     Defendant received a copy of charging document
☐     Court advises defendant(s) of possible penalties and all constitutional rights
☐     Defendant
☐     Government moves to detain                                  ☐ Government does not recommend detention
☐     Set for                                                     on                               @
Preliminary/Show Cause/Identity
☒     Defendant waives Preliminary Hearing
☒     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☒     Defendant waives Detention Hearing
☐
Custody Status
☒     Defendant will remain in custody
☐     Conditions
Other
☒     Matter referred to District Judge for Final Revocation Hearing
☐
